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 UNITED STATED DISTRICT COURT DISTRICT OF NEW JERSEY
                           MINUTES OF PROCEEDINGS


OFFICE: NEWARK                                         DATE: June 2, 2022
JUDGE KATHARINE S. HAYDEN
COURT REPORTER: LAURIE ENGEMANN

TITLE OF CASE:                                         DOCKET #21-cr-478
UNITED STATES OF AMERICA

           vs.
ALEXIS HERNANDEZ-REYNOSO


              DEFT. PRESENT

APPEARANCES:
George Brandley, AUSA for Government
Julian Wilsey, CJA., for Defendant
Maria Garcia, USPO

Nature of Proceedings: ZOOM SENTENCING

Defendant present and consents to proceed by video.
Imprisonment: TIME SERVED.
Supervised Release: 3 years
Special Conditions:
   1. Consent to search
   2. Drug testing/treatment
   3. Mental health testing/treatment

Special Assessment: $100 due immediately.
Fine Waived.
Defendant advised of his right to appeal.
Bail continued.


Time Commenced: 2:00 PM
Time Adjourned: 3:10 PM

                                              Christine Melillo, Courtroom Deputy
                                        to the Honorable Katharine S. Hayden, U.S.D.J.
